                          3:20-cv-03149-SEM-TSH # 14           Page 1 of 3
                                                                                                       E-FILED
                                                                        Friday, 02 October, 2020 03:15:07 PM
                                                                                 Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS


DEBORAH LAUFER, Individually,             )
                                          )
           Plaintiff,                     )
                                          )
      vs.                                 )
                                          )                   Case No. 20-CV-3149
Q ILL DEVELOPMENT LLC d/b/a EAGLES )
NEST HOTEL, an Illinois Limited Liability )
Company,                                  )
                                          )
           Defendant.                     )

                       MOTION TO STRIKE PLAINTIFF'S SUBMISSION
                            OF SUPPLEMENTAL AUTHORITY

         Comes now Defendant, Q ILL Development LLC d/b/a Eagles Nest Hotel, an Illinois

Limited Liability Company ("Defendant"), by its attorneys, Schmiedeskamp Robertson Neu &

Mitchell LLP, and for its Motion to Strike Plaintiff's submission of supplemental authority dated

September 29, 2020 hereby states as follows:

         1.       Plaintiff Deborah Laufer ("Plaintiff") filed her Complaint on June 16, 2020

(Document #1).

         2.       Defendant its Motion to Dismiss Plaintiff's Complaint and Memorandum in

Support of its Motion to Dismiss on August 12, 2020. (Documents #8 and 9).

         3.       Plaintiff filed her Memorandum in Opposition to Defendant's Motion to Dismiss

on August 20, 2020. (Document #11).

         4.       Plaintiff filed a Supplemental Authority on September 29, 2020. (Document #13)

         5.       Under Local Rule 7.1, no reply to the Response on a Motion to Dismiss is permitted

without leave of Court. (See Central District of Illinois Local Rule 7.1(b3)).



                                                  1
4838-5398-8035, v. 1
                          3:20-cv-03149-SEM-TSH # 14             Page 2 of 3




         6.       In addition, the Central District of Illinois does not allow ex parte communications

between litigants and the Court without properly identifying the communication as such. (See

Central District of Illinois Local Rule 49.9(c)).

         7.       In this instance, the Plaintiff, through counsel, submitted legal authority regarding

the issues contained in Defendant's Motion to Dismiss without any notice to the Defendant or

without obtaining leave from the Court.

         8.       Defendant requests Plaintiff’s submission of Supplemental Authority be stricken as

it did not conform to the local rules of this Court.

         WHEREFORE, Defendant, Q ILL Development LLC d/b/a Eagles Nest Hotel, an Illinois

Limited Liability Company, requests this Court strike Plaintiff's submission of Supplemental

Authority and ask it not be considered by the Court in deciding the Motion to Dismiss.



                                                By: /S/ Daniel M. McCleery______________
                                                Daniel M. McCleery; #6321087
                                                Schmiedeskamp Robertson Neu & Mitchell LLP
                                                Attorneys for Defendant Q ILL Development LLC
                                                d/b/a Eagles Nest Hotel, an Illinois Limited Liability
                                                Company
                                                525 Jersey
                                                Quincy, IL 62301
                                                Telephone: (217) 223-3030
                                                Facsimile: (217) 223-1005
                                                E-mail: dmccleery@srnm.com




                                                    2
4838-5398-8035, v. 1
                       3:20-cv-03149-SEM-TSH # 14             Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of October, 2020, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following:

          Kimberly A. Corkill                       kimberlyatlaw@gmail.com
          Thomas B. Bacon, P.A.
          7 N. Coyle Street
          Pensacola, FL 32502

and I hereby certify that I have mailed by United States Postal Service the document to the
following non CM/ECF participants: None.

                                             By: /S/ Daniel M. McCleery______________
                                             Daniel M. McCleery; #6321087




                                                3
4838-5398-8035, v. 1
